Case 1:17-cr-00101-LEK Document 519 Filed 07/09/19 Page 1 of 2   PageID #: 4618




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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101-LEK
   AMERICA,
                                       DEFENDANT’S “REPLY TO
          Plaintiff,                   GOVERNMENT'S RESPONSE
                                       TO DEFENDANT'S MOTION
         v.                            TO SHOW PROSECUTORS
                                       RONALD G. JOHNSON AND
                                       GREGG PARIS YATES
   ANTHONY T. WILLIAMS,                ENGAGED IN UNLAWFUL
                                       SELECTIVE PROSECUTION
          Defendant.                   AGAINST PRIVATE
                                       ATTORNEY GENERAL
                                       ANTHONY WILLIAMS;”
                                       DECLARATION OF COUNSEL;
                                       EXHIBIT “A:” CERTIFICATE
                                       OF SERVICE


    DEFENDANT’S “REPLY TO GOVERNMENT'S RESPONSE TO
    DEFENDANT'S MOTION TO SHOW PROSECUTORS RONALD
      G. JOHNSON AND GREGG PARIS YATES ENGAGED IN
    UNLAWFUL SELECTIVE PROSECUTION AGAINST PRIVATE
          ATTORNEY GENERAL ANTHONY WILLIAMS”
Case 1:17-cr-00101-LEK Document 519 Filed 07/09/19 Page 2 of 2   PageID #: 4619




   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and hereby

   provides     DEFENDANT’S         “REPLY      TO     GOVERNMENT'S

   RESPONSE         TO    DEFENDANT'S          MOTION       TO     SHOW

   PROSECUTORS RONALD G. JOHNSON AND GREGG PARIS

   YATES        ENGAGED           IN     UNLAWFUL            SELECTIVE

   PROSECUTION AGAINST PRIVATE ATTORNEY GENERAL

   ANTHONY WILLIAMS;” Declaration of Counsel and Exhibit “A.”



      Dated: July 9, 2019

                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
